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Fill in this information to identify your case:

Debtor 1           Arnold Leonard              Bookoff
                  __________________________________________________________________
                    First Name                Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name              Last Name


United States Bankruptcy Court for the: District of Maryland
                                        __________    District of __________

Case number          15-15498-DER (Chapter 7)
                    ___________________________________________                                                                            Check if this is an
 (If known)                                                                                                                                   amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s
                           Apex Bank                                                Surrender the property.                           No
          name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property
                                 2403 Velvet Ridge Drive, Owings Mills,             Retain the property and enter into a
         securing debt:          MD 21117                                             Reaffirmation Agreement.
                                                                                    Retain the property anexplain]:

  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________
  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________


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 Debtor 1            Arnold Leonard              Bookoff
                    ______________________________________________________                                                     15-15498-DER (Chapter 7)
                                                                                                        Case number (If known)_____________________________________
                    First Name          Middle Name         Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                        Will the lease be assumed?

       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
       Description of leased                                                                                                    Yes
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                          No
                                                                                                                                Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   /s/ Arnold Bookoff
       ___________________________________________                         ___________________________________________
       Signature of Debtor 1                                                 Signature of Debtor 2

            05/08/2019
       Date _________________                                                Date _________________
             MM /     DD     /   YYYY                                             MM /   DD /   YYYY




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            Print                                     Save As...             Add Attachment                                                      Reset
